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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL


 Case No.:           CV 17-05075 AB (JPRx)                            Date:   June 26, 2019


 Title:         Giganews, Inc. et al. v. Perfect 10, Inc. et al.


 Present: The Honorable             ANDRÉ BIROTTE JR., United States District Judge

                      Carla Badirian                                         N/A
                      Deputy Clerk                                      Court Reporter

       Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                     None Appearing                                    None Appearing

 Proceedings: [In Chambers] ORDER RE: PROPOSED JUDGMENT

       The Court has reviewed Plaintiff’s Proposed Judgment and Memorandum,
Defendants’ objections thereto, Plaintiff’s response, and Defendant’s response thereto. In
light of all the issues and arguments raised therein, the Court ORDERS the parties to
meet and confer about their disputes in an attempt to resolve them, and present any
outstanding issues in an orderly manner in a single joint brief. The Proposed Judgment
(Dkt. No. 260) is, accordingly, STRICKEN.

       Plaintiff shall re-file its Proposed Judgment (revised if appropriate after meeting
and conferring), along with the parties’ joint brief. For each contested element of
Plaintiff’s Proposed Judgment, the Joint Brief shall present Plaintiff’s argument in
support of that contested element, followed immediately by Defendants’ objection to that
element. The Joint Brief shall not exceed 20 pages (10 pages per side). The Proposed
Judgment and Joint Brief shall be filed within 21 days of the issuance of this order and
shall thereupon be under submission. The Court expects the parties to work in good faith
to resolve any issues that can be reasonably resolved without Court intervention.

         IT IS SO ORDERED.

CV-90 (12/02)                               CIVIL MINUTES - GENERAL               Initials of Deputy Clerk CB

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